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                                       October 15, 2020

VIA ECF/EMAIL
                                                                      MEMO ENDORSED
Honorable Sidney H. Stein
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    United States v. Jose Capriata, 12 Cr. 712 (SHS)

Dear Judge Stein:

         On September 28, 2020, the Court ordered counsel for the petitioner, Jose Capriata, to
file a memorandum of law on October 8, 2020 in connection with his placeholder habeas petition
filed in 2016. With apologies, counsel missed the ECF notice of the order. The attorney at
Federal Defenders who was initially assigned to Mr. Capriata s case in 2016 has since left the
office.

        I ask that the Court provide counsel with additional time to file a memorandum of law. I
have spoken with A.U.S.A. Abigail Kurland who has no objection to the following schedule:
Petitioner s memorandum of law due November 20; Government s response due December 11;
Petitioner s reply due December 21.

                                            Respectfully submitted,


                                            David E. Patton
                                            Tel.: (212) 417-8738

cc: A.U.S.A. Abigail Kurland
                                       Scheduled approved.

                                       Dated: New York, New York
                                              October 15, 2020
